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1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.
                                                UNITED STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF ILLINOIS
                                                        EASTERN DIVISION


              In Re:                                          §
                                                              §
              Kimberley Danner                                §     Case No. 17-04332
                                                              §
                                  Debtor                      §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      STEVEN R. RADTKE, chapter 7 trustee, submits this Final Account, Certification that
              the Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 85,000.00                           Assets Exempt: 35,775.00
              (Without deducting any secured claims)

              Total Distributions to Claimants: 5,424.91            Claims Discharged
                                                                    Without Payment: 110,449.01

              Total Expenses of Administration: 22,159.25


                      3) Total gross receipts of $ 42,584.16 (see Exhibit 1), minus funds paid to the debtor and
              third parties of $ 15,000.00 (see Exhibit 2), yielded net receipts of $ 27,584.16 from the
              liquidation of the property of the estate, which was distributed as follows:




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                                                  CLAIMS           CLAIMS                  CLAIMS                CLAIMS
                                                SCHEDULED         ASSERTED                ALLOWED                 PAID



SECURED CLAIMS
(from Exhibit 3)                                  $ 100,217.00          $ 2,107.19            $ 2,107.19                $ 2,107.19

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                         NA           22,159.25              22,159.25                22,159.25

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                 NA                 NA                     NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                  NA                 0.00                  0.00                      0.00

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                               8,923.00           4,757.73               4,757.73                 3,317.72

TOTAL DISBURSEMENTS                               $ 109,140.00        $ 29,024.17            $ 29,024.17           $ 27,584.16


                  4) This case was originally filed under chapter 7 on 02/15/2017 . The case was pending
          for 23 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 12/28/2018                        By:/s/STEVEN R. RADTKE
                                                                                Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                              EXHIBITS TO
                                                            FINAL ACCOUNT


             EXHIBIT 1 – GROSS RECEIPTS

                            DESCRIPTION                                    UNIFORM                                        $ AMOUNT
                                                                          TRAN. CODE1                                     RECEIVED

Personal Injury Claim - Car Accident September
2016. no suit                                                                1242-000                                          42,584.16

TOTAL GROSS RECEIPTS                                                                                                          $ 42,584.16
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


             EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                    PAYEE                                       DESCRIPTION                          UNIFORM              $ AMOUNT
                                                                                                    TRAN. CODE               PAID

Kimberley Danner                                   Exemptions                                        8100-002                  15,000.00

TOTAL FUNDS PAID TO DEBTOR &                                                                                                  $ 15,000.00
THIRD PARTIES


             EXHIBIT 3 – SECURED CLAIMS

                                                  UNIFORM       CLAIMS
                                                                                    CLAIMS               CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.     SCHEDULED                                                    CLAIMS PAID
                                                                                   ASSERTED             ALLOWED
                                                   CODE     (from Form 6D)

              Bankamerica, 4909 Savarese
              Circle Tampa, FL 33634                                     0.00                  NA                    NA              0.00


              Bankamerica, 4909 Savarese
              Circle Tampa, FL 33634                                60,217.00                  NA                    NA              0.00




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                                                 UNIFORM         CLAIMS
                                                                                  CLAIMS           CLAIMS
CLAIM NO.               CLAIMANT                  TRAN.       SCHEDULED                                            CLAIMS PAID
                                                                                 ASSERTED         ALLOWED
                                                  CODE       (from Form 6D)

             Colonial Mortgage, P.O. Box
             2988 Fort Worth, TX 76113-
             2988                                                   40,000.00                NA              NA              0.00


             Illinois Department of
             Healthcare and Family
             Services                            4220-000                 NA          1,303.49         1,303.49          1,303.49


             MEDICARE                            4220-000                 NA            803.70           803.70           803.70

TOTAL SECURED CLAIMS                                             $ 100,217.00        $ 2,107.19       $ 2,107.19       $ 2,107.19


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                              CLAIMS             CLAIMS            CLAIMS
               PAYEE                       TRAN.                                                                   CLAIMS PAID
                                                            SCHEDULED           ASSERTED          ALLOWED
                                           CODE

STEVEN R. RADTKE                           2100-000                     NA           3,508.42          3,508.42          3,508.42


STEVEN R. RADTKE                           2200-000                     NA                 8.91             8.91             8.91


Associated Bank                            2600-000                     NA              73.86             73.86             73.86


STEVEN R. RADTKE                           3110-000                     NA           3,900.00          3,900.00          3,900.00


STEVEN R. RADTKE                           3120-000                     NA              78.30             78.30             78.30


Jeff A. Saltzman and the Law Offices
of Jeff A. Saltzman                        3210-000                     NA          14,194.72        14,194.72          14,194.72


Jeff A. Saltzman and the Law Offices
of Jeff A. Saltzman                        3220-000                     NA            395.04            395.04            395.04




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                                         UNIFORM
                                                            CLAIMS             CLAIMS              CLAIMS
              PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                          SCHEDULED           ASSERTED            ALLOWED
                                          CODE

TOTAL CHAPTER 7 ADMIN. FEES                                        $ NA          $ 22,159.25        $ 22,159.25       $ 22,159.25
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                            CLAIMS             CLAIMS              CLAIMS
              PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                          SCHEDULED           ASSERTED            ALLOWED
                                          CODE

NA: NA                                          NA                    NA                  NA                NA               NA

TOTAL PRIOR CHAPTER ADMIN.                                         $ NA                 $ NA              $ NA              $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                              CLAIMS             CLAIMS
                                                UNIFORM
                                                            SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                             CLAIMS PAID
                                                             (from Form       (from Proofs of     ALLOWED
                                                 CODE
                                                                 6E)              Claim)

                                                                       0.00                 NA              NA               0.00

TOTAL PRIORITY UNSECURED                                              $ NA               $ 0.00           $ 0.00           $ 0.00
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                              CLAIMS             CLAIMS
                                                UNIFORM
                                                            SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                             CLAIMS PAID
                                                             (from Form       (from Proofs of     ALLOWED
                                                 CODE
                                                                 6F)              Claim)

            Cap1/BSTBY, PO Box 30253
            Salt Lake City, UT 84130                              1,759.00                  NA              NA               0.00




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                                                             CLAIMS             CLAIMS
                                                UNIFORM
                                                           SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                            (from Form       (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)              Claim)

            Chase Card, Po Box 15298
            Wilmington, DE 19850                                   612.00                  NA              NA              0.00


            Spring Leaf Financial,
            Bankruptcy Department 4521
            Lincoln highway Matteson, IL
            60443                                                4,357.00                  NA              NA              0.00


            SYNCB/AMAZON PLCC,
            PO Box 965015 Orlando, FL
            32896-5015                                           2,064.00                  NA              NA              0.00


2           Onemain Consumer Loan, Inc. 7100-000                      NA              4,329.49       4,329.49         3,019.09


            Quantum3 Group Llc As
1           Agent For                           7100-000           131.00               235.23         235.23           164.03


3           Verizon                             7100-000              NA                193.01         193.01           134.60

TOTAL GENERAL UNSECURED                                         $ 8,923.00          $ 4,757.73      $ 4,757.73       $ 3,317.72
CLAIMS




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                                                                                                                                                                                                       Page:       1
                                           Case 17-04332            Doc 44     Filed 02/12/19 Entered 02/12/19 11:43:14                                     Desc Main
                                                                                           FORM 1
                                                                       INDIVIDUALDocument     Page
                                                                                  ESTATE PROPERTY   7 of 12AND REPORT
                                                                                                  RECORD
                                                                                                  ASSET CASES
                                                                                                                                                                                                           Exhibit 8
Case No:               17-04332                        LAH            Judge:        LaShonda A. Hunt                             Trustee Name:                      STEVEN R. RADTKE
Case Name:             Kimberley Danner                                                                                          Date Filed (f) or Converted (c):   02/15/2017 (f)
                                                                                                                                 341(a) Meeting Date:               03/13/2017
For Period Ending:     12/28/2018                                                                                                Claims Bar Date:                   09/21/2018


                                    1                                               2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

  1. 18501 Wentworth Ave Unit 2F                                                          40,000.00                 40,000.00                                                        0.00                        FA
     Lansing Il 60438-0000 Cook
  2. 18204 Exchange Unit 3                                                                60,000.00                 60,000.00                                                        0.00                        FA
     Lansing Il 60438-0000 Cook
  3. 2003 Toyota Highlander                                                                4,275.00                  4,275.00                                                        0.00                        FA
  4. Household Goods & Furniture                                                             750.00                       0.00                                                       0.00                        FA
  5. Tv & Electronics                                                                        350.00                       0.00                                                       0.00                        FA
  6. Normal Clothing                                                                         400.00                       0.00                                                       0.00                        FA
  7. Chase Bank                                                                                0.00                       0.00                                                       0.00                        FA
  8. Term Life Insurance Death Benefit Only                                                    0.00                       0.00                                                       0.00                        FA
  9. Personal Injury Claim - Car Accident September 2016. no suit                         Unknown                   42,584.16                                                 42,584.16                          FA
     (u)
INT. Post-Petition Interest Deposits (u)                                                  Unknown                         N/A                                                        0.00                    Unknown


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $105,775.00              $146,859.16                                                 $42,584.16                        $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  10/2018 Begin work on TFR and fee applications

  8/2018 Special counsel employed; order approving settlement granted

  6/2018 Case reopened after case Trustee received notification that Debtor may be entitled to a settlement award from a personal injury claim




  Initial Projected Date of Final Report (TFR): 06/30/2019            Current Projected Date of Final Report (TFR): 06/30/2019



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                                                                      ESTATE CASHDocument
                                                                                  RECEIPTS AND Page 9 of 12 RECORD
                                                                                               DISBURSEMENTS
           Case No: 17-04332                                                                                               Trustee Name: STEVEN R. RADTKE                                          Exhibit 9
      Case Name: Kimberley Danner                                                                                            Bank Name: Associated Bank
                                                                                                                  Account Number/CD#: XXXXXX6453
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX1282                                                                               Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 12/28/2018                                                                              Separate Bond (if applicable):


       1                2                             3                                              4                                                      5                  6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.      Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                         ($)
   06/21/18                       Law Offices of Jeff A. Saltzman           settlement proceeds from                                                       $37,584.16                               $37,584.16
                                  1821 Walden Office Square                 personal injury claim
                                  Suite 400
                                  Schaumburg, IL 60173-4273
                                                                            Gross Receipts                            $42,584.16

                                  Kimberley Danner                          Partial payment of exemption              ($5,000.00)    8100-002

                        9                                                   Personal Injury Claim - Car               $42,584.16     1242-000
                                                                            Accident September 2016. no
                                                                            suit
   07/09/18                       Associated Bank                           Bank Service Fee under 11                                2600-000                                       $18.02          $37,566.14
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   08/07/18                       Associated Bank                           Bank Service Fee under 11                                2600-000                                       $55.84          $37,510.30
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/04/18           1001        Kimberley Danner                          Balance of PI exemption per                              8100-002                                  $10,000.00           $27,510.30
                                  18501 Wentworth Ave                       order of Court dated 8/30/18
                                  Unit 2F
                                  Lansing, IL 60438
   09/04/18           1002        MEDICARE                                  Payment of Medicare Lien                                 4220-000                                      $803.70          $26,706.60
                                  NGHP                                      pursuant to order of Court
                                  P.O. Box 138832                           dated 8/30/18
                                  Oklahoma City, OK 73113                   Medicare ID No. 352563416A
   09/04/18           1003        Illinois Department of Healthcare and     Payment of Medicaid Lien                                 4220-000                                   $1,303.49           $25,403.11
                                  Family Services                           pursuant to order of Court
                                  Bureau of Collections, Technical          dated 9/4/18
                                  Recovery                                  Case No. 93-226-0000G56647
                                  401 S. Clinton, 5th Floor
                                  Chicago, IL 60607-3800
   09/04/18           1004        Jeff A. Saltzman and the Law Offices of   Attorneys' Fees pursuant to                              3210-000                                  $14,194.72           $11,208.39
                                  Jeff A. Saltzman                          order of Court dated 8/30/18
                                  1821 Walden Office Square - Suite 400
                                  Schaumburg, IL 60173-4273
   09/04/18           1005        Jeff A. Saltzman and the Law Offices of   Attorneys' Costs pursuant to                             3220-000                                      $395.04          $10,813.35
                                  Jeff A. Saltzman                          order of Court dated 8/30/18
                                  1821 Walden Office Square - Suite 400
                                  Schaumburg, IL 60173

                                                                                   Page Subtotals:                                                         $37,584.16          $26,770.81
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                                                                      ESTATE CASH RECEIPTS ANDPage  10 of 12 RECORD
                                                                                               DISBURSEMENTS
           Case No: 17-04332                                                                                            Trustee Name: STEVEN R. RADTKE                                             Exhibit 9
      Case Name: Kimberley Danner                                                                                          Bank Name: Associated Bank
                                                                                                                  Account Number/CD#: XXXXXX6453
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX1282                                                                              Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 12/28/2018                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   12/10/18           1006        STEVEN R. RADTKE                          Final distribution creditor                           2100-000                                      $3,508.42             $7,304.93
                                  CHILL, CHILL & RADTKE, P.C.               account # representing a
                                  79 WEST MONROE STREET                     payment of 100.00 % per court
                                  SUITE 1305                                order.
                                  CHICAGO, IL 60603

                                  ,
   12/10/18           1007        STEVEN R. RADTKE                          Final distribution creditor                           2200-000                                           $8.91            $7,296.02
                                  CHILL, CHILL & RADTKE, P.C.               account # representing a
                                  79 WEST MONROE STREET                     payment of 100.00 % per court
                                  SUITE 1305                                order.
                                  CHICAGO, IL 60603

                                  ,
   12/10/18           1008        STEVEN R. RADTKE                          Final distribution creditor                           3110-000                                      $3,900.00             $3,396.02
                                  CHILL, CHILL & RADTKE, P.C.               account # representing a
                                  79 WEST MONROE STREET                     payment of 100.00 % per court
                                  SUITE 1305                                order.
                                  CHICAGO, IL 60603

                                  ,
   12/10/18           1009        STEVEN R. RADTKE                          Final distribution creditor                           3120-000                                          $78.30            $3,317.72
                                  CHILL, CHILL & RADTKE, P.C.               account # representing a
                                  79 WEST MONROE STREET                     payment of 100.00 % per court
                                  SUITE 1305                                order.
                                  CHICAGO, IL 60603

                                  ,
   12/10/18           1010        Quantum3 Group Llc As Agent For           Final distribution to claim 1                         7100-000                                         $164.03            $3,153.69
                                  Moma Funding Llc                          creditor account # representing
                                  Po Box 788                                a payment of 69.73 % per court
                                  Kirkland, Wa 98083-0788                   order.
   12/10/18           1011        Onemain Consumer Loan, Inc.               Final distribution to claim 2                         7100-000                                      $3,019.09                $134.60
                                  P O Box 3251                              creditor account # representing
                                  Evansville, In 47731-3251                 a payment of 69.73 % per court
                                                                            order.
   12/10/18           1012        Verizon                                   Final distribution to claim 3                         7100-000                                         $134.60                 $0.00
                                  By American Infosource As Agent           creditor account # representing
                                  4515 N Santa Fe Ave                       a payment of 69.73 % per court
                                  Oklahoma City, Ok 73118                   order.


                                                                                   Page Subtotals:                                                              $0.00          $10,813.35
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                                                                          COLUMN    12                           $37,584.16   $37,584.16
                                                                                    Less: Bank Transfers/CD's        $0.00        $0.00     Exhibit 9
                                                                              Subtotal                           $37,584.16   $37,584.16
                                                                                    Less: Payments to Debtors        $0.00    $10,000.00
                                                                              Net                                $37,584.16   $27,584.16




                                                            Page Subtotals:                                          $0.00        $0.00
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                                                                                                                                                            Exhibit 9
                                                                                       TOTAL OF ALL ACCOUNTS
                                                                                                                                        NET            ACCOUNT
                                                                                                     NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                            XXXXXX6453 - Checking                                        $37,584.16               $27,584.16                $0.00
                                                                                                         $37,584.16               $27,584.16                $0.00

                                                                                                   (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                           transfers)            to debtors)
                                            Total Allocation Receipts:                 $5,000.00
                                            Total Net Deposits:                       $37,584.16
                                            Total Gross Receipts:                     $42,584.16




                                                                    Page Subtotals:                                       $0.00                $0.00
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